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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
                       v.                         )     No. 4:05-cr-00012-RLY-VTW
                                                  )
ANTHONY C. ALLEN,                                 ) -01
                                                  )
                            Defendant.            )



             ORDER ADOPTING REPORT AND RECOMMENDATION

       The Magistrate Judge submitted his Report and Recommendation on USPO Petition

for Action on Conditions of Supervised Release. The parties were afforded due

opportunity pursuant to statute and the rules of this court to file objection; parties waived

the objection period. The court, having considered the Magistrate Judge’s Report and

Recommendation, hereby ADOPTS the Magistrate Judge’s Report and Recommendation.



SO ORDERED this 3rd day of November 2021.




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